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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 LINDA SEGATTO,                                               :
                                              Plaintiff,      :   20 Civ. 372 (LGS)
                                                              :
                            -against-                         :           ORDER
                                                              :
 FRESHLY, INC.,                                               :
                                              Defendant. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this

case (Dkt. No. 45). Accordingly, it is hereby ORDERED that this action is dismissed without

costs and without prejudice to restoring the action to the Court’s calendar, provided the

application to restore the action is made within thirty (30) days of this Order. Any application to

reopen filed after thirty (30) days from the date of this Order may be denied solely on that basis.

        Any pending motions are DISMISSED as moot, and all conferences are CANCELED.

        The Clerk of Court is respectfully directed to close this case.

Dated: January 11, 2021
       New York, New York
